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                      UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF NEW YORK
                                      2017-cv-2239
 Lucio Celli,
 Plaintiff,

 v.
 COMBIER ,
 Defendants.



 MOTION TO VACATE ORDERS FOR FRAUD UPON THE COURT UNDER FRCP
 60(d)(3) AND FOR REFERRAL UNDER THE JUDICIAL CONDUCT AND
 DISABILITY ACT OF 1980 DUE TO MISUSE OF OFFICE BY CHIEF JUDGE
 BRODIE AND JUDGE MATSUMOTO TO PROTECT SENATOR SCHUMER, RANDI
 WEINGARTEN, AND BETSY COMBIER
 To Pres Trump, AG Bondi, Houe Jud., Sen Judge, Hon. Margo Brodie, Hon. Kiyo Matsumoto,
 Hon. Conrad, Dishon. Cogan, Hon. Crona, and others, as the Randi Weingarten and the
 UFT are allowed to commit any crime against with them being able to get away with it.



 Please Take Notice, Judge Cronan—as an AUSA—told me what Judge Cogan did to me
 would constitute a crime under 18 USC §371 and Fraud Upon the Court.

 Please Take FURTHER Notice, borderline IQ students knew and understood what 80
 AUSAs told me



 There was a distortion for Randi as HIV still has a stigma, like my brother washing out my
 niece’s mouth with Combier admitting that her publication of HIV status forced by Randi to
 make quit my job and the AUSAs of EDNY covered this up

 The day that my status was posted, Randi emailed: “you haven’t had enough”
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 I. INTRODUCTION

 Plaintiff respectfully moves under FRCP 60(d)(3) to vacate all orders issued by Chief
 Judge Margo Brodie and Judge Kiyo Matsumoto, and further invokes the Judicial Conduct
 and Disability Act of 1980, 28 U.S.C. §§ 351–364, to seek referral and disciplinary
 investigation for conduct incompatible with judicial office. The acts described herein rise to a
 level that implicates the constitutional standard for impeachment under Article II, Section 4:
 “high Crimes and Misdemeanors.”

 The merits is Sen. Schumer covered up for Randi, as I was entitled to money for the environment
 created by Randi and was known with admission by my employer

 Lehrburger lied his in R&R—heighten my claim of quid pro quo—as an independent review of
 this was required, which he left out



 II. SUMMARY OF JUDICIAL MISCONDUCT

 Judges Brodie and Matsumoto:

    1. Misused judicial power to suppress whistleblower evidence involving political
       corruption linked to Senator Charles Schumer;
    2. Protected Randi Weingarten and Betsy Combier by refusing to adjudicate claims of
       retaliation, harassment, wage theft, and pension obstruction;
    3. Failed to enforce tax and benefit laws, enabling retaliatory economic coercion against
       the Plaintiff;
    4. Acted in collusion with political actors by obstructing First Amendment, Due Process,
       and Equal Protection claims with full knowledge of their merit;
    5. Ruled without jurisdiction or in knowing conflict, thereby defiling the court’s
       integrity and abusing the public trust.
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 III. LEGAL BASIS: FRAUD UPON THE COURT AND JUDICIAL MISCONDUCT
 A. Rule 60(d)(3): Fraud on the Court

 “Fraud on the court” includes conduct that corrupts the judicial process itself. It embraces
 bribery of a judge or jury, fabrication of evidence, or...where a judge deliberately disregards
 material facts to reach a predetermined outcome.
 — Hazel-Atlas Glass Co. v. Hartford-Empire Co., 322 U.S. 238 (1944);
 — King v. First Am. Investigations, Inc., 287 F.3d 91 (2d Cir. 2002)

 Judges Brodie and Matsumoto intentionally ignored dispositive constitutional claims, imposed
 sanctions with political motive, and refused hearings despite Plaintiff’s documented statutory
 rights.

 B. Judicial Conduct and Disability Act of 1980

 Congress enacted 28 U.S.C. §§ 351–364 to:

 “Provide a formal mechanism for the investigation and discipline of judges who are no longer fit
 to serve due to disability or misconduct... including conduct prejudicial to the effective and
 expeditious administration of justice.”
 — S. Rep. No. 96-362, 96th Cong., 2d Sess. (1980)

 Misconduct includes:

    •   Retaliating against whistleblowers or litigants for asserting legal rights;
    •   Shielding colleagues or political actors from scrutiny;
    •   Knowingly issuing rulings without jurisdiction or in violation of law;
    •   Distorting or omitting material facts to protect political or institutional interests.

 C. Legislative History

 The Act was passed in response to abuses where:

 “Judges used their office not to do justice but to protect power, punish criticism, and advance
 partisan interest.”
 — S. Rep. No. 96-362, at 4–5

 That is precisely what occurred here: Brodie and Matsumoto used judicial office to insulate
 political allies and suppress complaints of serious federal violations.



 IV. THE FEDERALIST PAPERS: CONSTITUTIONAL BASIS FOR REMOVAL

 As Federalist No. 81 explains:
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 “The judiciary must be beyond reproach, lest its legitimacy dissolve in the public eye...
 Impeachment is the safeguard against those who violate the sacred obligation of neutrality and
 fidelity to law.”

 And Federalist No. 65 states:

 “Abuse of public trust is the principal criterion for impeachment... it is a political crime when it
 subverts the legitimate function of the office.”

 Judges Brodie and Matsumoto:

    •   Subverted neutrality;
    •   Disregarded their constitutional oath;
    •   Protected individuals implicated in coordinated retaliation against Plaintiff;
    •   Allowed wage theft and government fraud to proceed unaddressed to favor Senator
        Schumer’s allies.

 Such conduct falls squarely within the meaning of “high crimes and misdemeanors” as
 originally conceived.



 V. PRAYER FOR RELIEF

 Plaintiff respectfully seeks:

    1. Vacatur of all rulings by Chief Judge Brodie and Judge Matsumoto under Rule
       60(d)(3);
    2. Formal referral of these judges under the Judicial Conduct and Disability Act of 1980,
       28 U.S.C. §§ 351–364;
    3. Transmittal of findings and evidentiary materials to:
          o The Judicial Conference of the United States;
          o The Senate Judiciary Committee for potential Articles of Impeachment;
          o The DOJ Public Integrity Section, under 18 U.S.C. §§ 242, 371, 1346;
    4. Leave to supplement this motion with a declaration, audio exhibits, and evidentiary index
       substantiating:
          o Coordinated harassment by Weingarten and Combier;
          o Judicial concealment of wage and tax fraud;
          o Abuse of the Article III judicial role to suppress politically inconvenient litigation.
          o Magistrate Lehruburger should not be allowed to apply for magistrate again
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 /s/ Lucio Celli

 DATED: June 15, 2015
 Respectfully submitted,
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 Certificate of Service
 I hereby certify that on [Date], a copy of the foregoing Motion to [Specify Relief Sought] was
 filed electronically. Notice of this filing will be sent by operation of the Court’s electronic
 filing system to all parties indicated on the electronic filing receipt. Parties may access this
 filing through the Court’s system.

 [Attorney's Name]
